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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:20-cv-22423-UU

  SH GROUP GLOBAL IP HOLDINGS, L.L.C.,
  A Delaware limited liability company,

                   Plaintiff,
  v.

  2399 COLLINS AVENUE CONDOMINIUM
  ASSOCIATION, INC., a Florida corporation,
  and JOHN P. BOSTANY, an Individual,

                   Defendants.


              DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

            Defendants 2399 COLLINS AVENUE CONDOMINIUM ASSOCIATION, INC.

  (“Association”) and JOHN P. BOSTANY (“Mr. Bostany”) (both collectively, “Defendants”), by

  and through their undersigned counsel, hereby respectfully request this Court dismiss, pursuant to

  Federal Rule of Civil Procedure 12(b)(6), all counts against Mr. Bostany for failure to state a claim

  upon which relief may be granted. Further, Defendants respectfully request that the Court dismiss,

  pursuant to Federal Rule of Civil Procedure 12(b)(6), Count III for tortious interference with a

  business relationship and Count VI for Florida trademark infringement against the Association for

  failure to state a claim upon which relief may be granted. In support of this motion, Defendants

  state as follows:

       I.   Background

            This case is essentially a strike suit brought by Plaintiff in retaliation for a pending 2019

  Cancellation Proceeding (No. 92073091) (hereinafter “Cancellation Proceeding”) which

  Defendant Association filed before the Trademark Trial and Appeal Board (“TTAB”) for




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  cancellation of Plaintiff’s Registration Nos. 4,837,287, 4,832,423, and 4,837,289 for the marks 1

  HOTEL & HOMES (Stylized), 1 HOTEL & HOME (Stylized), 1 HOTEL & HOMES SOUTH

  BEACH (Stylized), respectively. The Association sought to cancel the above-mentioned

  registrations based upon fraud committed by Plaintiff during the prosecution of the registrations,

  descriptiveness, lack of bona fide intent to use the marks at the time of application, lack of bona

  fide use at the time the statement of use was filed, and abandonment. The Association filed the

  Cancellation Proceeding following months of discussions and meetings by the Association Board

  of Directors as well as meetings between the full Board and Plaintiff.

         Throughout the Cancellation Proceeding, Plaintiff tactically sought to prevent the TTAB

  from ruling upon the merits of the Cancellation Proceeding by seeking long extensions of time and

  refusing to provide any substantive answers to written discovery. Ultimately, attempting to use the

  Court to pressure the Association, Plaintiff filed the instant action against the Association and the

  Association’s Board President, Mr. Bostany, in his individual capacity. See D.E. 1. As a result, the

  Cancellation Proceeding has been stayed pending resolution of the instant action.

         The Association is a condominium association for condominiums situated within a mixed-

  use residential, hotel and commercial facility located at 2301-2399 Collins Avenue, Miami Beach

  FL 33139 (the “Project”). The hotel is known as 1 Hotel and the condominiums are known as 1

  Homes. Defendant Mr. Bostany is the Association’s Board President. The Plaintiff, SH Group

  Global IP Holdings, L.L.C., is a Delaware limited liability company which claims to own certain

  trademarks and allegedly licenses such trademarks to “affiliates in connection with developing,

  promoting, managing and/or operating” Plaintiff’s affiliated 1 HOTEL-branded properties. D.E. 1

  at ¶ 7. Plaintiff never identifies who these “affiliates” may be. Such affiliates may include the

  developer of the Project who sold the residential units to the homeowners and would therefore no




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  longer use the mark, or it could include an entity which operates the “1 Hotel South Beach” hotel

  located at the Project. The Court and Defendants are left to guess.

   II.    The Standard for Dismissal Under Rule 12(b)(6).

          Under the Federal Rules of Civil Procedure Rule 12(b)(6), “a motion to dismiss will be

  awarded if the plaintiff fails to state a claim in which relief can be granted.” Coach, Inc. v. Swap

  Shop, Inc., 916 F. Supp. 2d 1271, 1277 (S.D. Fla. 2012). According to Rule 8(a)(2) of the Federal

  Rules of Civil Procedure, a plaintiff’s pleading must contain “a short and plain statement of the

  claim showing that the pleader is entitled to relief.” “To survive a motion to dismiss, plaintiffs

  must do more than merely state legal conclusions,” instead plaintiffs must “allege some specific

  factual basis for those conclusions or face dismissal of their claims.” Jackson v. BellSouth

  Telecomms., 372 F.3d 1250, 1263 (11th Cir. 2004).

          The Supreme Court has stated that a plaintiff must submit “more than an unadorned, the-

  defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.

  1937, 173 L. Ed. 2d 868 (2009). In order “[t]o survive a motion to dismiss, a complaint must

  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

  face.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d

  929 (2007)).

          In considering a motion to dismiss for failure to state a cause of action, the “plausibility

  standard is met only where the facts alleged enable ‘the court to draw the reasonable inference that

  the defendant is liable for the misconduct alleged.’” Simpson v. Sanderson Farms, Inc., 744 F.3d

  702, 708 (11th Cir. 2014) (quoting Iqbal, 556 U.S. at 678)). Pleadings must contain “more than

  labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

  Twombly, 550 U.S. at 555. Further, the mere possibility the defendant acted unlawfully is




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  insufficient to survive a motion to dismiss. ADA v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir.

  2010) (citing Iqbal, 129 S. Ct. at 1950).

         Thus, “[d]ismissal is appropriate where it is clear the plaintiff can prove no set of facts in

  support of the claims in the complaint.” Marshall County Bd. of Educ. v. Marshall County Gas

  Dist., 992 F.2d 1171, 1174 (11th Cir. 1993). Indeed, “only a complaint that states a plausible claim

  for relief survives a motion to dismiss” and a complaint does not “suffice if it tenders ‘naked

  assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

  550 U.S. at 557).

         A.        Count I for Breach of the Purchase Agreement Against Mr. Bostany, Count II
                   for Breach of the Buyer’s Acknowledgement Against Mr. Bostany, Count III
                   for Tortious Interference with a Business Relationship Against the Association
                   Must be Dismissed Under Rule 12(b)(6).

         Plaintiff has failed to provide allegations sufficient to establish a prima facie case of breach

  of any of the agreements by Mr. Bostany in his individual capacity. As an initial matter, all of the

  allegations concern actions taken by Mr. Bostany in his role as President of the Association’s

  Board of Directors. Plaintiff has failed to provide any allegation that Mr. Bostany was acting in

  his individual capacity nor any allegation that would justify construing the actions of the

  Association as actions of Mr. Bostany in his individual capacity.

         Further, Plaintiff has failed to provide any allegation that may serve as a basis to hold Mr.

  Bostany personally liable for the actions taken by the Association or by Mr. Bostany in his role

  as President of the Association’s Board of Directors. Section 617.0834 of the Florida Statutes

  provides that:

                 An officer or director of a nonprofit organization. . . is not personally liable
         for monetary damages to any person for any statement, vote, decision, or failure
         to take an action, regarding organizational management or policy by an officer
         or director, unless:




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                    (a) The officer or director breached or failed to perform his or her duties
            as an officer or director; and
                    (b) The officer’s or director’s breach of, or failure to perform, his or her
            duties constitutes:
                    1. A violation of the criminal law…;
                    2. A transaction from which the officer or director derived an improper
            personal benefit, directly or indirectly; or
                    3. Recklessness or an act or omission that was committed in bad faith or
            with malicious purpose or in a manner exhibiting wanton and willful disregard of
            human rights, safety, or property.

  (emphasis added); See also Sonny Boy, L.L.C. v. Asnani, 879 So. 2d 25, 27-28 (Fla. 5th DCA

  2004)(citing Perlow v. Goldberg, 700 So. 2d 148 (Fla. 3d DCA 1997)) (maintaining that section

  617.0834(1), Florida Statutes “provides insulation for condominium association directors from

  liability in their individual capacities absent fraud, criminal activity, self-dealing, or unjust

  enrichment.”)

            Notably, the actions undertaken by Mr. Bostany in his individual capacity do not bind the

  Association, which is an independent and distinct entity. See Whetstone Candy Co. v. Kraft Foods,

  Inc., 351 F.3d 1067, 1073 (11th Cir. 2003)(“Generally, a contract does not bind one who is not a

  party to the contract, or who has not in some manner agreed to accept its terms.”)(citing

  Consolidated Resources Healthcare Fund I, Ltd. v. Fenelus, 853 So. 2d 500, 503-04 (Fla. Dist. Ct.

  App. 2003); CH2M Hill Southeast, Inc. v. Pinellas County, 598 So. 2d 85, 89 (Fla. Dist. Ct. App.

  1992)).

            In the instant matter, Plaintiff has failed to allege that Mr. Bostany engaged in fraud,

  criminal activity, self-dealing, unjust enrichment or any such other actions which may serve as a

  basis upon which to hold Mr. Bostany personally liable for any actions taken by the Association

  or by Mr. Bostany in his role as President of the Association’s Board of Directors. As such, the

  Court should dismiss under Rule 12(b)(6) Count I for breach of the Purchase Agreement and Count




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  II for breach of the Buyer’s Acknowledgement against Mr. Bostany, for failure to state a claim

  upon which relief may be granted.

         Further, Plaintiff has failed to allege any conduct by Mr. Bostany, in his individual capacity

  or otherwise, that would constitute a breach of the Purchase Agreement as asserted in Count I. In

  support of its Count I for breach of the Purchase Agreement, Plaintiff cites to the following

  provisions:

         Paragraph 32(e) of the Purchase Agreement:
         “Under no circumstances shall the Hotel Brand Intellectual Property be deemed
         part of the Condominium Property or an appurtenance of any Unit. In no event shall
         the Condominium, the Condominium Association nor the Unit Owners have any
         right, title or interest in any name under which the Hotel is operated or in any other
         aspect of the Hotel Brand Intellectual Property, or in any licensing arrangement
         between the Hotel Brand and any other party.”

         Paragraph 33(b) of the Purchase Agreement:
         “Buyer further acknowledges and agrees that by acquiring a Unit, Buyer acquires
         no right, title, ownership or interest in the name ‘1 Hotel’ or ‘1 Hotel &
         Residences,’ or the marks, logos or other trademarks, service marks, trade
         names, symbols, emblems, logos, insignias, indicia of origin, slogans and
         designs used in connection with ‘1 Hotel’ or ‘1 Hotel & Residences’
         (collectively, the ‘SH Group Marks’), all of which belong to SH Group.”

  See D.E. 1, ¶ 28-29 (emphasis added). Plaintiff further points to documents allegedly included by

  reference in the Purchase Agreement, including the Declaration of Condominium, Resorts

  Covenant, and Prospectus, citing to the following provisions:

         Paragraph 21.3(a) of the Declaration of Condominium:
         “No Unit Owner shall have the right, license or ability (or otherwise through the
         purchase or ownership of a Unit acquire any entitlement) to use for any purpose,
         including in connection with the sale, rental or marketing of his, her or its Unit)
         [sic] any trade name, trademark or service mark associated with the Hotel or
         the operator thereof.” The “Hotel” referenced in Paragraph 21.3(a) refers to the 1
         HOTEL & HOMES SOUTH BEACH property owned and operated by SH Group.

         Paragraph 14.2 of the Resort Covenants:
         “No Element or Condominium Owner shall have the right, license or ability ... to
         use for any purpose ... any trade name, trademark, or service mark associated
         with the Hotel or the operator thereof.”



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         Paragraph 21(n) of the Prospectus states:
         “In no event shall the Condominium, the Condominium Association nor the Unit
         Owners have any right, title or interest in any name under which the Hotel is
         operated or any other aspect of the Hotel Brand Intellectual Property.” The
         “Hotel” referred to in the Prospectus is the 1 HOTEL & HOMES SOUTH BEACH
         property owned and operated by SH Group.

  See D.E. 1, ¶¶ 33, 36, 39 (emphasis added). Plaintiff alleges that Mr. Bostany has breached the

  above-mentioned agreements “by inducing, directing and encouraging the Association to use the

  Association’s Alleged Mark.” Id. at ¶ 44. However, there are no factual allegations that refer to

  Mr. Bostany’s conduct outside his capacity as a Board member of the Association’s three-person

  Board. More than that, had Mr. Bostany undertaken conduct in an individual capacity, i.e. using 1

  HOMES to sell his own apartment for example (and there are no such allegations) the cited contract

  language would not as a matter of law prohibit that. 1 HOMES is not one of the trademarks

  identified in the cited language. See DiMase v. Aquamar 176, Inc., 835 So. 2d 1150, 1155 (Fla. 3d

  DCA 2002)(“the rule in contract law is that any ambiguity should be construed against the party

  that drafted the contract.”). The 1 HOMES mark is not and has never been a name “associated with

  the Hotel or the operator thereof” nor has it been a mark “under which the Hotel is operated or any

  other aspect of the Hotel Brand Intellectual Property.” Unsurprisingly, Plaintiff has failed to allege

  otherwise. Thus, Plaintiff has failed to plead a prima facie case of breach of the Purchase

  Agreement and the Court should dismiss Count I for failure to state a claim upon which relief may

  be granted.

         Moreover, based on the foregoing, Plaintiff’s claim for tortious interference (Count III)

  alleged against the Association, must necessarily fail. Plaintiff has failed to allege any actions by

  Mr. Bostany in his individual capacity that would constitute a breach of any agreement or business

  relationship between Mr. Bostany in his individual capacity and Plaintiff, let alone that any such




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  breach was a result of interference by the Association. Thus, the Court should dismiss under Rule

  12(b)(6), Count III for tortious interference against the Association for failure to state a claim upon

  which relief may be granted.

         B.      Count VI for Florida Trademark Infringement Must be Dismissed Under Rule
                 12(b)(6).

         The Court should dismiss Count VI for Florida trademark infringement under Rule

  12(b)(6) because Plaintiff fails to plausibly plead a cause of action for Florida trademark

  infringement under Fla. Stat. § 495.131, as alleged in paragraph 106 of the Plaintiff’s Complaint.

  Plaintiff has failed to allege that it owns a requisite valid Florida state trademark registration to

  bring a cause of action under Fla. Stat. § 495.131.

         Florida Statute 495.131 provides as follows:

         495.131     Infringement.—Subject to the provisions of s. 495.161, any person who
         shall, without the consent of the registrant:
         (1) Use any reproduction, counterfeit, copy, or colorable imitation of a mark
         registered under this chapter in connection with the sale, offering for sale,
         distribution, or advertising of any goods or services on or in connection with which
         such use is likely to cause confusion, to cause mistake, or to deceive; or
         (2) Reproduce, counterfeit, copy, or colorably imitate a mark registered under
         this chapter and apply such reproduction, counterfeit, copy, or colorable imitation
         to labels, signs, prints, packages, wrappers, receptacles, or advertisements
         intended to be used upon or in connection with the sale, distribution, or advertising
         of goods or services on or in connection with which such use is likely to cause
         confusion, to cause mistake, or to deceive;

         shall be liable in a civil action by the owner of such registered mark for any or all
         of the remedies provided in s. 495.141, except that under subsection (2) hereof the
         registrant shall not be entitled to recover profits or damages unless the acts have
         been committed with knowledge that such mark is intended to be used to cause
         confusion or mistake or to deceive.




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  (emphasis    added).    The    Act   permits    only   Florida    trademark    registrants   to   sue

  for infringement under Fla. Stat. § 495.131. See Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d

  1018, 1024 (11th Cir. 1989).

         Based on the foregoing, because Plaintiff has failed to plead that it owns any valid Florida

  trademark registrations, it has failed to state a claim upon which relief may be granted and its claim

  must, therefore, be dismissed as to both Defendants pursuant to Rule 12(b)(6).

         C.      Count IV for Infringement of Registered Trademarks Under 15 U.S.C. § 1114,
                 Count V for False Designation of Origin Under 15 U.S.C. § 1125(a), Count VII
                 for Common Law Trademark Infringement, and Count VII for Common Law
                 Unfair Competition Against Mr. Bostany Must be Dismissed Under Rule
                 12(b)(6).

         Plaintiff has failed to provide any allegations in the Complaint regarding Mr. Bostany’s

  use in commerce, in his individual capacity, of Plaintiff’s alleged trademarks sufficient to plead a

  prima facie case of trademark infringement under 15 U.S.C. § 1114 (Count IV) or under theories

  of common law trademark infringement (Count VII). As argued above, Plaintiff has failed to

  provide any allegation that Mr. Bostany was acting in his individual capacity nor any other

  allegation that would justify construing the actions taken by the Association, of allegedly using

  marks confusingly similar to Plaintiff’s trademarks and moving to cancel the trademarks of

  Plaintiff, as actions of Mr. Bostany in his individual capacity. As such, the Court should dismiss

  Counts IV for infringement of registered trademarks under 15 U.S.C. § 1114 and Counts VII for

  common law trademark infringement against Mr. Bostany under Rule 12(b)(6) for failure to state

  a claim upon which relief may be granted.

         Moreover, based on the foregoing, Plaintiff’s claims of false designation of origin under

  15 U.S.C. § 1125(a) (Count V) and common law unfair competition (Count VIII) against Mr.

  Bostany, in his individual capacity, must also necessarily fail, as Plaintiff has not alleged any use




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  of the asserted trademarks by Mr. Bostany in his individual capacity that would constitute

  trademark infringement nor a basis for Plaintiff’s claims of unfair competition or false designation

  of origin. Thus, the Court should also dismiss Counts V and VIII against Mr. Bostany under Rule

  12(b)(6) for failure to state a claim upon which relief may be granted.

  III.   Conclusion

         Based on the foregoing, Defendants respectfully request that this Court dismiss, pursuant

  to Federal Rule of Civil Procedure 12(b)(6), all counts against Mr. Bostany for failure to state a

  claim upon which relief may be granted. Further, Defendants respectfully request that the Court

  dismiss, pursuant to Federal Rule of Civil Procedure 12(b)(6), Count III for tortious interference

  with a business relationship, and Count VI for Florida trademark infringement against the

  Association, for failure to state a claim upon which relief may be granted.

         Respectfully submitted this July 20, 2020.

                                                   /s/ Stephanie Vazquez
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 20, 2020, I presented the foregoing to the Clerk of the
  Court for uploading to the Case Management/Electronic Case Files (“CM/ECF”) System, which
  will send a Notice of Electronic Filing to Counsel of Record:

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